  Case 18-12246       Doc 38     Filed 04/08/19 Entered 04/08/19 14:19:47            Desc Main
                                   Document     Page 1 of 3




Dated: April 06, 2019
The following is SO ORDERED:


                                                    ________________________________________
                                                                  Jimmy L. Croom
                                                       UNITED STATES BANKRUPTCY JUDGE


____________________________________________________________




                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                JACKSON DIVISION


In re: VIRGINIA I. SPENCER                                                  CASE NO.: 18-12246
       Debtor                                                               CHAPTER 7


   CONSENT ORDER RESOLVING TRUSTEE’S OBJECTION TO NATIONSTAR
   MORTGAGE LLC D/B/A MR. COOPER’S MOTION FOR RELIEF FROM STAY

       This matter came before the Court on March 14, 2019 upon Trustee Michael T. Tabor’s

(hereinafter, “Trustee”) objection [Doc. 22] to Nationstar Mortgage LLC d/b/a Mr. Cooper’s

Motion for Relief from Automatic Stay [Doc. 18] relating to the latter’s perfected security interest

in real property of the Debtor municipally known as 627 Keller Street, Bolivar, Tennessee 38008

(hereinafter, the “Property”). By agreement of the parties, the matter is being resolved as follows:

       1.      The Trustee shall have one hundred and twenty (120) days from the date of entry

of this order to sell the Property and realize any then-existing equity for the benefit of the

bankruptcy estate.

       2.      Should the Trustee fail to sell the Property within the one hundred and twenty (120)



A|LAW FILE NO. 18-027859
  Case 18-12246       Doc 38     Filed 04/08/19 Entered 04/08/19 14:19:47           Desc Main
                                   Document     Page 2 of 3


days provided, Nationstar Mortgage LLC d/b/a Mr. Cooper, its successors or assigns, shall have

relief from the automatic stay and abandonment of the Property from the Trustee without further

order from the Court, and will be entitled to pursue all of its rights and remedies relating to the

Property pursuant to state law as applicable.

IT IS SO ORDERED.

THIS ORDER WAS ELECTRONICALLY SIGNED AT THE TOP OF THE FIRST
PAGE.

APPROVED FOR ENTRY:

/s/ Michael N. Wennerlund
Michael N. Wennerlund (031332)
ALBERTELLI LAW
401 Commerce Street
Suite 150
Nashville, TN 37219
Phone: (615) 265-0835
Fax: (615) 265-0836
Email: bktn@albertellilaw.com
Alternate: mwennerlund@alaw.net

Attorney for Nationstar Mortgage LLC d/b/a
Mr. Cooper



/s/ Michael T. Tabor (with permission)
Michael T. Tabor (004736)
P.O. Box 2877
Jackson, TN 38302-2877
(731) 424-3074

Chapter 7 Trustee




A|LAW FILE NO. 18-027859
  Case 18-12246       Doc 38     Filed 04/08/19 Entered 04/08/19 14:19:47   Desc Main
                                   Document     Page 3 of 3


PARTIES TO BE SERVED:

VIA REGULAR MAIL:
Virginia I. Spencer
627 Keller St.
Bolivar, TN 38008
Debtor

VIA ECF:
Louis W. Ringger
222 West Baltimore Street, Suite B
Jackson, TN 38301
Attorney for Debtor

VIA ECF:
Michael T. Tabor
203 S. Shannon
P.O. Box 2877
Jackson, TN 38302-2877
Chapter 7 Trustee

VIA ECF:
U.S. Trustee
Office of the U.S. Trustee
One Memphis Place
200 Jefferson Avenue, Suite 400
Memphis, TN 38103


                                                 /s/ Michael N. Wennerlund
                                                 Michael N. Wennerlund (031332)




A|LAW FILE NO. 18-027859
